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                                                 UNITED STATES DISTRICT COURT
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                                              CENTRAL DISTRICT OF CALIFORNIA
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8    MICHAEL BAKER, an individual,       ) CASE NO: 2:19-cv-07659-DSF-PLA
9                     Plaintiff,         )
10                                       ) ORDER RE DISMISSAL WITH
                  vs.                    ) PREJUDICE
11   PETZL AMERICA, INC., a corporation, )
12   THE PETZL GROUP, a corporation,     )
     PORT TOWNSEND RIGGERS, a            )
13   business entity,
                                         )
14                    Defendants.        )
                                         )
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                 GOOD CAUSE appearing therefore,
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                 IT IS HEREBY ORDERED that pursuant to Rule 41(a)(2) of the Federal Rules
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     of Civil Procedure, the entirety of this action, including but not limited to all claims
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     for relief and causes of action that have been or could have been asserted by plaintiff
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     Michael Baker against any defendant or related person, or by any defendant against
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     any other defendant or related person, or any related person, shall be dismissed with
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     prejudice, with each party to bear their own costs and attorneys’ fees, and that the trial
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     date and all other pretrial dates and deadlines be vacated.
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      DATED: March 12, 2020
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                                                           Honorable Dale S. Fischer
26                                                         UNITED STATES DISTRICT JUDGE
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     ORDER RE DISMISSAL
     CASE NO. 2:19-CV-07659-DSF-PLA
